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                      UNITED STATES DISTRICT COURT
                                   FOR THE
                           DISTRICT OF COLUMBIA
___________________________________
                                    )
QUAGLIN,                            )
      Petitioner                    )
                                    )
      v.                            )    Case No. 22-cv-1154
                                    )
GARLAND, et al                      )
      Respondent.                   )
                                    )
____________________________________)



                     DECLARATION OF CHRISTOPHER QUAGLIN

I, CHRISTOPHER QUAGLIN, hereby declares as follows

   1. I am a pretrial detainee being held at Northern Neck Regional Jail.

   2. When I arrived here on December 21, 2022, I weighed 210 pounds.

   3. At the day of the hearing on September 29, 2022, I weighed 165 pounds.

   4. As of October 21, 2022, I weigh 162 pounds.

   5. Since December 21, 2022, I have submitted many grievances.

   6. I have several hundred pages of documents that document my conditions of confinement.

   7. On October 3, 2022, I was seen by Doctor James Dudley at NNRJ.

   8. I told Doctor Dudley that I believe the food provided by the Jail was gluten contaminated

      and that I could not eat it. I told him that I was subsisting on nothing but 3 Ensure drinks

      and 4 protein bars which I purchase at the commissary per day.

   9. I also told him that every time I try to eat the trays of food provided by the Jail I get sick.

   10. I saw Doctor Dudley’s notes.

   11. Doctor Dudley’s assessment was “weight loss” and “celiac disease/gluten intolerance.”
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   12. Doctor Dudley recommended that the Jail add an additional Ensure drink in the evening

       and “if possible, increase commissary allowance.”

   13. My commissary allowance is limited to $120 per week. I spend $110 - $115 of my

       allowance on protein bars, and the rest on toiletries and coffee. The Jail commissary just

       increased all prices by 10%.

   14. Since the meeting, the Jail has added one Ensure drink, but the Jail has not increased my

       commissary allowance.

   15. On October 17, 2022, I saw Doctor Dudley again.

   16. I asked Doctor Dudley if he could transfer me to another facility.

   17. Doctor Dudley said that only the U.S. Marshals have that authority.

   18. I asked Doctor Dudley as a physician if it is his opinion that I should be transferred to

       another facility.

   19. Doctor Dudley said, yes. In his opinion as a physician I should be transferred to another

       facility.

   20. I asked Doctor Dudley if he would write a note to the U.S. Marshals recommending that I

       be transferred to another facility.

   21. Dr. Dudley said he would.

I declare under the penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

   Executed on October 23, 2022

                                                      /s/ Christopher Quaglin

                                                      Christopher Quaglin
